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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                         ENTERED
                                                                                       02/25/2018
IN RE:                                   §        CASE NUMBER 18-30002
                                         §
RAY L. SHACKELFORD                       §        CHAPTER 13
DEBTOR                                   §
                                         §

         ORDER REGARDING DEBTOR’S MOTION TO DISMISS VOLUNTARY CASE
                                      (Docket No. 14)
      After considering the pleadings on file and the arguments of counsel, Debtor’s
Motion to Dismiss Voluntary Case is GRANTED.
       The Chapter 13 Voluntary Petition filed in this case is hereby dismissed without
prejudice.
Signed on this ____ day of______________________, 2018
     Signed: February 23, 2018.

                                               ____________________________________
                                               DAVID R. JONES
                                                      __________________________
                                               UNITED STATES  BANKRUPTCY JUDGE
                                                        Judge Presiding




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Approved as to form and substance:


/s/ Brian M. Middleton_____________
Brian M. Middleton
SBN 90001967
7322 Southwest Freeway, Suite 1980
Houston, Texas 77074
Telephone (713) 680-3296
Facsimile (713) 680-3242
Email: brian@middletonlawfirm.com




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